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Attorneys for Plaintiffs



                                           UNITED STATES DISTRICT COURT
                                                DISTRICT OF IDAHO



    RONALD GRLINIG and SHANNON
    GRUNIG, husband and wife,
                                                          Case No.
                      Plaintiffs,

    V                                                     COMPLAINT AND DEMAND FOR
                                                          JURY TRIAL
    JOHNSON & JOHNSON, a New Jersey
    corporation, and ETHICON, INC., a New
    Jersey corporation,



                      Defendants.


                                                       COMPLAINT

              COME NOW Plaintiffs, Ronald Grunig and Shannon Grunig, by and through their attorney

    of record, Sam Johnson of the law firm of Johnson & Monteleone, LLP, and for causes of action

    against Defendants, hereby Complain and Allege as follows:

                                                        PARTIES

               1.        At all times herein mentioned, Plaintiffs Ronald and Shannon Grunig, husband and

    wife, were and are citizens and residents of the state of Idaho, and of the United States.




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       2.      Defendant Johnson & Johnson was and is a New Jersey corporation doing business

in the state of Idaho, with its principal place of business located at One Johnson & Johnson Plaza,

New Brunswick, New Jersey.

       3.      Defendant Johnson & Johnson organizes its subsidiary businesses into individual

Business Units   to   coordinate the development, manufacture, testing, marketing promotion,

training, distribution and sale of its products, including but not limited to its hemia repair mesh

products. Within Defendant Johnson & Johnson there exist three sectors: (1) medical devices and

diagnostics, (2) pharmaceutical, (3) and consumer. Within the medical devices and diagnostic

sector are ooBusiness Units" including the "Ethicon Franchise." The Ethicon Franchise was

charged by Defendant Johnson      & Johnson with the design, development, promotion, marketing,

testing, training, distribution and sale of the hernia mesh repair products at issue in this case. The

companies comprising the Ethicon Franchise thus remain under the control of Defendant Johnson

& Johnson and include, but are not limited to, Ethicon, Inc.

       4.      Defendant Ethicon, Inc., was and        is a wholly owned subsidiary of     Defendant

Johnson   & Johnson. Defendant Ethicon, Inc., was        and is a New Jersey corporation, with its

principle place of business located in Somerville, New Jersey. Defendant Ethicon, Inc., transacts

business in the state of Idaho.

        5.     Defendant Ethicon, Inc., is a medical device company engaged in the research,

development, testing, manufacture, production, marketing, promotion and/or sale           of   medical

devices, including the Proceed Surgical Mesh involved in this action.

        6.      Defendant Johnson    &   Johnson, directly and/or through the actions of Defendant

Ethicon, Inc., has at all pertinent times been responsible for the research, development, testing,

manufacture, production, marketing, promotion, distribution and/or sale          of   Proceed labeled




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products.

        7.       Defendants are individually, jointly and severally liable to Plaintiffs for damages

suffered by Plaintiffs arising from the Defendants' design, manufacture, marketing, labeling, sale

and placements     of its defective mesh products at issue in the instant action, effectuated directly

and indirectly through their respective agents, servants, employees andlor owners, all acting    within

the course and scope of their representative agencies, services, employments andlor ownership.

         8.      Defendants are vicariously liable for the acts and/or omissions of its employees

and/or agents who were at all relevant times hereto acting on behalf of Defendants and within the

scope of their employment or agency with Defendants.

                                      JURISD                AND VENUE

         9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.     $


I332(a),based upon complete diversity of citizenship between Plaintiffs and all Defendants. The

amount in controversy well exceeds the sum of $75,000.00.1

         10.      This Court has personal jurisdiction over each of the Defendants pursuant to the

Idaho Long-Arm Statute, Idaho Code $ 5-514. Defendants transact business within the state of

Idaho, contracted to sell and supply their Proceed products in the state of Idaho, and committed

tortious acts and omissions in Idaho. Defendants' tortious acts and omissions caused injury to

Plaintiffs in the state of Idaho. Based upon information and belief, Defendants employ sales

representatives in the state of Idaho to sell their Proceed products throughout the state, including

the Proceed product implanted in Plaintiff Ronald Grunig. Defendants have purposefully engaged

in the business of developing, manufacturing, publishing information, marketing, distributing,

promoting andlor selling, either directly or indirectly, through third parties, as successor in interest,



 I The medical expenses portion of the claim, alone, exceed the sum of $80,000.00.



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or other related entities, medical devices including Proceed products in Idaho, for which they

derived significant and regular income. The Defendants intended and reasonably expected that

their defective mesh products, including Proceed, would be sold and used in ldaho, and could

cause   injury in Idaho.

         11.     Venue is proper in this Court pursuant to 28 U.S.C. $ 1391(bX2).

                             F'ACTS COMMON TO             ALL COUNTS

         12.     In October 2010, Plaintiff Ronald Grunig reported to Mercy Medical Center in

Nampa, Idaho to undergo a ventral hernia repair, On October 14, 2010, according to the
                                                              o'laparoscopic assisted ventral
"Operative Report", Dr. Richard Ballantyne, D.O., performed a

incisional hernia repair with PROCEED mesh." The Ethicon PROCEED Surgical Mesh                      as


identified by the Operative Report and the "Product Traceability Label" was a PCDH1 Model, 20

x25     cm, surgical mesh, bearing LOT No. BKG507,        with a use or expiration date of September

2011.

          13.    Defendants manufactured, sold, andlor distributed the Proceed device to Plaintiff,

through his medical providers, to be used for treatment during the aforementioned hernia repair,

          14.    After several days of worsening symptoms, including nausea, vomiting, pain and

discomfort, and abdominal distension, Plaintiff reported to the Emergency Room at Saint

Alphonsus Medical Center      - Nampa, on July 16,2017. Plaintiff was diagnosed with a bowel
obstruction and admitted into the hospital.

          15.    Roughly one week later, on or about July 24,2017, Plaintiff was taken to the

Operative Suite     of the hospital where Dr. Forrest Fredline, D.O., performed an exploratory

"laparotomy with lysis of adhesions." It is noted in the operative report that at "the time of surgery,

there was noted to be dense inflammatory attachment between a distal loop of the small bowel and




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the anterior abdominal wall mesh." When describing the procedure, the surgeon stated how the

oobowel                                                                      o'removal of portion
          was slowly dissected off of the underlying mesh" and describes the             a


ofthemesh...."

          16.    Defendants were responsible      for the teseatch, design,   development, testing,

manufacture, production, marketing, promotion, distribution and sale of Proceed, including the

provisions of warnings and instructions concerning the product.

          17.    Among the intended purposes for which Defendants designed, manufactured and

sold Proceed was use by surgeons for hernia repair surgeries, the purpose for which the Proceed

was implanted in Plaintiff Ronald Grunig.

          18.    Defendants represented to Plaintiff and Plaintiffls physicians that Proceed was a

safe and effective product for hernia repair.

          19.    Defendants' Proceed was defectively designed andlor manufactured, was not

reasonably safe for its intended use in hernia repair, and the risks of the design outweighed any

potential benefits associated with the design. As a result         of the defective design    attdlot

manufacture of the Proceed, there was an unreasonable risk of severe adverse reactions to the mesh

or mesh components including: chronic pain; recurrence of hernia; foreign body             response;


rejection; infection; inadequate or failure     of incorporation/ingrowth; migration; scarification;

deformation of mesh; improper wound healing; excessive and chronic inflammation; adhesions to

internal organs; erosion; abscess; fistula formation; granulomatous response; seroma formation;

nerve damage; tissue damage andlor death; and other complications.

          20.    Proceed has a unique design incorporating a layer of oxidized regenerated cellulose

(ORC) over a layer of polydioxanone, which in turn coats a polypropylene mesh. Based upon

information and belief, this design is not used in any other hernia repair product sold in the United




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States. The multi-layer coating was represented and promoted by the Defendants to prevent or

minimize adhesion and inflammation and to facilitate incorporation of the mesh into the body, but

it did not. Instead, the multi-layer coating prevented adequate incorporation of the mesh into the

body and caused or contributed to an intense inflammatory and chronic foreign body response

resulting in an adverse tissue reaction including damage to surrounding tissue in the form of

sclerotic, granulomatous and/or fibrotic tissue and improper healing.

        21.    The ORC layer of the Proceed has a tendency to delaminate from the other layers

of the mesh, resulting in an air pocket, which leads to the formation of a seroma as the body fills

the air pocket with   fluid.   Seroma formation increases the risk of infection, abscess formation and

other complications.

        22.    When affixed to the body's tissue, the impermeable multi-layer coating of the

Proceed prevents      fluid   escape,   which leads to seroma formation, and which in turn can   cause


infection, abscess formation and other complications.

        23.    The multi-layer coating provides a breeding ground for bacteria in which the

bacteria cannot be eliminated by the body's immune response, which allows infection to

proliferate.

        24.    The multi-layer coating of Defendants'Proceed is cytotoxic, immunogenic, and not

biocompatible, which causes or contributes to complications such as delayed wound healing,

inflammation, foreign body response, rejection, infection, and other complications.

         25.   Defendants knew            or should have known of the cytotoxic and immunogenic

properties of the multi-layer coating of the Proceed prior to introducing        it into the stream of

commerce,

         26.    When the multi-layer coating of the Proceed is disrupted, delaminates, and/or




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degrades, the "naked" polypropylene mesh is exposed to the adjoining tissue and viscera, and can

become adhered to organs, cause damage to organs, and potentiate fistula formation.

       27.       These manufacturing and design defects associated with the Proceed were directly

and proximately related to the injuries suffered by       Plaintiff Ronald Grunig.

        28.      Neither Plaintiff Ronald Grunig nor his implanting physician were adequately

warned or informed by Defendants of the defective and dangerous nature of Proceed. Moreovet,

neither Plaintiff Ronald Grunig nor his implanting physician were adequately warned or informed

by Defendants of the risks associated with the Proceed or the frequency, severity, or duration of

such risks.

        29.      The Proceed implanted in Plaintiff Ronald Grunig failed to reasonably perform as

intended. The mesh caused serious injury and had to be surgically removed via invasive surgery

to repair the hernia that the Proceed was initially implanted to treat'

        30.      Plaintiff Ronald Grunig's severe adverse reaction, and the necessity for surgical

removal of the Proceed, directly and proximately resulted from the defective and dangerous

condition of the product and Defendants' defective and inadequate warnings about the risks

associated with the product, and the frequency, severity and duration         of such risks. Plaintiff   has


suffered, and will continue to suffer, both physical injury and pain and mental anguish, permanent

and severe scarring and disfigurement, and has incurred substantial medical          bills already exceeding

the sum of $80,000.00, and other expenses, resulting from the defective and dangerous condition

of the product and from Defendants' defective and inadequate warnings about the risks associated

with the product.

                                            COUNT I
                         Strict Product Liabilitv: Defective Manufacture




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           31.     Plaintiffs incorporate herein by reference the allegations in all prior paragraphs    as


if fully   set forth herein

            32.    Defendants expected and intended the Proceed product to reach users such              as


Plaintiff Ronald Grunig in the condition in which the product was sold.

            33.    The implantation of Proceed in Plaintiff s body was medically reasonable, and was

a   type of use that Defendants intended and foresaw when it designed, manufactured and sold the

product.

            34.    At the time the Proceed that was implanted in Plaintiff s body, the product      was


defectively manufactured.

            35.    Defendants' manufacturing and quality control/assurance non-compliance resulted

in the non-conformance of the Proceed implanted in Plaintiff Ronald Grunig with intended

manufacturing and design specifi cations.

            36.    The multi-layer coating of the Proceed also failed to conform to the Defendants'

specifications in terms of shelf-life, thickness, durability, and quality.

            37.    Upon information and belief, Defendants' utilized adulterated polypropylene to

manufacture Proceed.

            38.    Upon information and belief, Defendants' utilized adulterated cellulose to

manufacture the Proceed.

            39.    As a direct and proximate result of the defective manufacture of the         Proceed,


 Plaintiff suffered injuries and damages as summaizedherein'

                                                COUNT        II
                                Strict Product Liabilitv: Defective Desien

            40.     Plaintiffs incorporate herein by reference the allegations in all prior paragraphs    as


 if fully   set forth herein.




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         4I.     At the time the Proceed that was implanted in Plaintiff Ronald Grunig's body, the

product was defectively designed. As described above, there was an unreasonable risk that the

product would not perform safely and effectively for the purposes for which it was intended, and

Defendants failed to design against such dangers, and failed to provide adequate wamings and

instructions concerning these risks.

         42.     Defendants expected and intended the Proceed product to reach users such                as


Plaintiff in the condition in which the product was sold.

         43.     The implantation of Proceed in Plaintiff s body was medically reasonable, and was

a   type of use that Defendants intended and foresaw when it designed, manufactured and sold the

product.

           44.   The risks of the Proceed significantly outweigh any benefits that Defendants

contend could be associated with the product. The multi-layer coating prevents tissue from

incorporating into the mesh, leading to encapsulation, deformation, scarification and contraction,

migration, erosion and rejection. The impermeable multi-layer coating leads to seroma formation,

and provides a breeding ground for infection, and protects bacteria from being eliminated by the

body's natural immune response.

           45.   The multi-layer coating of the Proceed, which was marketed, promoted and

intended as a barrier against adhesion to the internal organs, was only temporary; it was expected

and intended to degrade over time inside the     body. Thus, this coating prevented tissue ingrowth

in the short term, and degraded in the long-term, eventually leaving the "naked" polypropylene

mesh exposed to the intemal viscera and tissues. The degradation of this multi-layer coating

caused or exacerbated an intense inflammatory and foreign body            reaction. Once exposed to the

viscera, the polypropylene mesh        will inevitably     adhere to the viscera, initiating a cascade   of




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adverse consequences.      Any purported beneficial purpose of the multi-layer coating (to prevent

adhesion to the internal viscera and organs) was non-existent; the product provided no benefit
                                                                                               I



while substantially increasing the risks to the patient.

        46.       The polypropylene mesh within the defective multi-layer coating of the Proceed

was   in itself   dangerous and defective, particularly when used       in the manner intended          by

Defendants. When implanted adjacent to the intestines and other internal organs, as Defendants

intended for Proceed, polypropylene mesh is unreasonably susceptible             to   adhesion, bowel

perforation or erosion, fistula formation and bowel strangulation or hernia incarceration, and other

lruunes.

           47.    Proceed is sterilized with gamma irradiation, which oxidizes the cellulose, creating

oxidized regenerated cellulose (OP""C). Cellulose is not bioresorbable in humans until             it   has


undergone oxidation. The complex oxidation process often results in non-homogenous materials,

parts of which are unable to be bioresorbed.

        48.       Based upon information and belief, Proceed is the only polypropylene hernia mesh

currently on the market to utilize gamma irradiation for sterilization of the entire hernia mesh.

Gamma igadiation causes polypropylene to significantly degrade, and the degradation continues

for a long time after the actual sterilization event. Gamma irradiation induced polypropylene

 degradation result in severe embrittlement of the polypropylene'

           49.    The ORC layer of Proceed is compromised in the presence of blood or where there

 is prolonged fibrin deposition due to inflammation. Fibrin is able to readily penetrate ORC and

 gain access to the base polypropylene. It is this fibrin bridging which initiates adhesion formation.

 The polypropylene component of Proceed incites a chronic inflammatory response, leading to

 prolonged fibrin deposition.




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           50.    The appropriate treatment for complications associated with Proceed involves

additional invasive surgery to remove the mesh from the body, thus eliminating any purported

benefit that the mesh was intended to provide to the patient.

           51.    Proceed was designed and intended          for   intraperitoneal implantation, which

involved the product being implanted in contact with the intestines andlor other internal organs,

which unnecessarily increased the risks of adhesion, erosion, fistula formation, and other injuries.

           52. At the time the Proceed was implanted in Plaintiff,           there were safer feasible

alternative designs for hernia mesh products that would have prevented the injuries he suffered.

           53.    The Proceed product cost significantly more than competitive products because         of

its unique multi-layer coating, even though the multi-layer coating provided no benefit to

consumers, and increased the risks to patients implanted with these devices.

           54.    The Proceed implanted in Plaintiff failed to reasonably perform as intended, and

had to be partially surgically removed necessitating further invasive surgery to repair the very issue

that the product was intended to repair, and thus provided no benefit to him.

           55.     As a direct and proximate result of the defective and unreasonably        dangerous

condition of the product, Plaintiff suffered injuries and damages as summarized herein.

                                              COUNT III
                               Strict Product Liability: Failure to Warn

           56.     Plaintiffs incorporate herein by reference the allegations in all prior paragraphs   as


if fully   set forth herein.

           57.     At the time the Proceed that was implanted in Plaintiff s body, the warnings and

instructions provided by Defendants for the Proceed were inadequate and defective. As described

above, there was an unreasonable risk that the product would not perform safely and effectively

for the purposes for which it was intended, and Defendants failed to design andlor manufacture



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against such dangers, and failed to provide adequate warnings and instructions concerning these

risks.

         58.     Defendants expected and intended the Proceed product to reach users such           as


Plaintiff in the condition in which the product was sold.

         59.     Plaintiff and his physicians were unaware of the defects and dangers of Proceed,

and were unaware of the frequency, severity and duration of the defects and risks associated with

the Proceed.

         60.     The Defendants' instructions for use provided with the Proceed expressly

understates and misstates the risks known to be associated specifically    with the Proceed. Based

upon information and belief, no other surgical mesh sold in the United States         - and no other

"surgically implantable material" - suffers the same serious design flaws as Proceed. No other

device or material contains the dangerous and defective multi-layer coating, which itself causes or

increases the risks   of numerous complications, including prevention of incorporation, increased

risk of seroma formation, immunol6gic response, increased risk for infection, and increased

inflammatory reaction and foreign body response. Defendants provided no warning to physicians

about the risks or increased risks specifically associated with the unique design of the Proceed.

         61.     The Defendants' Instructions for Use for the Proceed failed to adequately warn

Plaintiff s physicians of numerous risks which Defendants knew or should have known were

associated with the Proceed, including the risks of the product's inhibition of tissue incorporation,

pain, immunologic response, dehiscence, encapsulation, rejection, migration, scarification,

shrinkage/contraction, adhesion to internal organs and viscera, erosion through adjacent tissue and

viscera, bowel obstruction, failure     of repair/hernia recurrence, or hernia incarceration or
strangulation.




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       62.     Defendants failed to adequately train or warn Plaintiff or his physicians about the

necessity for invasive surgical intervention in the event of complications, or how to properly treat

such complications when they occurred.

       63.     Defendants failed to adequately wam Plaintiff or his physicians that the necessary

surgical removal of the Proceed in the event of complications would leave the hernia unrepaired,

and would necessitate further medical treatment to attempt to repair the same hernia that the failed

Proceed was intended to treat.

       64.      Defendants represented   to physicians, including Plaintiffs physician, that the

multi-layer coating would prevent or reduce adhesion, and expressly intended for the Proceed to

be implanted in contact with the intestines and internal organs and marketed and promoted the

product for said purpose. Defendants failed to warn physicians that the multi-layer coating

prevented tissue ingrowth, which is the desired biologic response to an implantable mesh device.

Defendants failed to warn physicians that the multi-layer coating was only temporary and therefore

at best would provide only a temporary adhesion barrier, and when the coating inevitably

degraded, the exposed polypropylene would become adhered to the organs or tissue.

        65.     With respect to the complications that were listed in the Defendants' warnings,

Defendants provided no information or warning regarding the frequency, severity and duration of

those complications, even though the complications associated with Proceed were more frequent,

more severe and lasted longer than those with safer feasible alternative hernia repair treatments.

        66. If Plaintiff and/or his physicians had been properly warned of the defects and
dangers   of Proceed, and of the frequency, severity and duration of the risks associated with the

Proceed, Plaintiff would not have consented to allow the Proceed to be implanted in his body, and

Plaintiff physicians would not have implanted the Proceed in Plaintiff.




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           67.     As a direct and proximate result of the inadequate and defective warnings        and

instructions, Plaintiff suffered injuries and damages as summarized herein.

                                               COUNT IV
                                               Negligence

           68.     Plaintiffs incorporate herein by reference the allegations in all prior paragraphs   as


if fully   set forth herein.

           69.     Defendants had a duty to use reasonable care in designing, testing, inspecting,

manufacturing, packaging, labeling, marketing, distributing, and preparing written instructions and

warnings for Proceed, but failed to do so.

           70.     Defendants knew, or in the exercise of reasonable care should have known, that

Proceed was defectively and unreasonably designed and/or manufactured, and was unreasonably

dangerous and likely to injure patients in whom Proceed was implanted. Defendants knew or

should have known that Plaintiff and Plaintiffs physicians were unaware ofthe dangers and defects

inherent in the Proceed.

           71.     As a direct and proximate result of Defendants'negligence in designing, testing,

inspecting, manufacturing, packaging, labeling, marketing, distributing, and preparing written

instructions and warnings for Proceed, Plaintiffs suffered injuries and damages as summarized

herein.

                                               COUNT V
                                           Loss of Consortium

           72.     Plaintiffs incorporate herein by reference the allegations in all prior paragraphs   as


if fully   set forth herein.

           73.     As a direct and proximate result of the above-described injuries sustained by

Plaintiff, his wife, Plaintiff Shannon Grunig, has suffered a loss of her husband's consortium,




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companionship, society, affection, setvices and support.




                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment against Defendants as a result of the acts and

omissions and conduct of Defendants set forth herein. Plaintiff Ronald Grunig is entitled to

recover for his personal injuries; past, present, and future medical and related expenses; and past,

present and future mental and physical pain and suffering; and   Plaintiff Shannon Grunig is entitled

to recover for her loss of consortium and services; and Plaintiffs should be awarded punitive

damages.

         Plaintiffs demand trial by jury, judgment against Defendants, jointly and severally, for

compensatory and.punitive damages as well as costs, attorney fees, interest, or any other relief,

monetary or equitable, to which they are entitled.




                                  DEMAND FO          .IIIRY TRIAL

         Plaintiffs demand a trial by jury on all issues so triable pursuant to Federal Rule of Civil

Procedure 38(b).




DATED:      rfri,  I?ay of March, 2018.
                  -T
JO            &             EONE, L.L.P



S am J
Attorney to         tiffs




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